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ORIGINAL
                               SEALED                             FILED IN THE
                                                         UNITED STA TES DISTRICT COURT
                                                                STATES
JUDITH A. PHILIPS         BY ORDER OF THE COURT               DISTRICT OF HAWAII (ea)
                                                           Mar 17, 2021, 4:20 pm
Acting United States Attor,ney _                         Michelle Rynne,
                                                         Michelle Rynne, Clerk
                                                                         Clerk of
                                                                               of Coun
                                                                                  Court

District of Hawaii

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Attorneys for Plaintiff
UNITED STATES OF AMERICA

                IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAll

UNITED STATES OF AMERICA,          )    CR. NO. CR 21 -00034 DKW
                                  )
                  Plaintiff,      )     INDICTh1ENT
                                  )
      vs.                         )     [18 U.S.C. §§ 1001 , 1343, and 1346]
                                  )
WAYNE INOUYE,                     )
                                  )
    Defendant.                    )
_________                         )

                                INDICTMENT

The Grand Jury charges:
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                                    Counts 1 - 6
                             Honest Services Wire Fraud
                            (18 U.S.C. §§ 1343 and 1346)

       The Scheme to Defraud

       1.    In or about and between 2012 and October 2017, both dates being

approximate and inclusive, within the District of Hawaii and elsewhere, WAYNE

INOUYE, the defendant, devised and intended to devise a scheme and artifice to

defraud and deprive the citizens of the City and County of Honolulu and its

Department of Planning and Permitting ("DPP") of their rights to the honest and

faithful services of INOUYE, who was then employed by DPP as a Building Plans

Examiner, through bribery and the concealment of material information.

      2.     The purpose of the scheme and artifice was for INOUYE to secretly

use his official position to enrich himself by soliciting and accepting gifts,

payments, and other things of value in exchange for his provision of favorable

official action to persons who paid him bribes.

      3.     The scheme and artifice was carried out by the following manner and

means, among others:

             a.     From in or about September 2016 to in or about September

      2017, INOUYE solicited and accepted gifts, payments, and other things of

      value totaling at least $89,205.81 from an architect and third-party reviewer

      ("Architect 1"). INOUYE provided favorable official action on behalf of


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    Architect 1 as requested and as opportunities arose, including expediting

    approval of projects submitted for approval to DPP by Architect 1 ahead of

    projects previously submitted by others.

           b.    From in or about February 2012 to in or about August 2017,

    INOUYE solicited and accepted gifts, payments, and other things of value

    totaling at least $3,425.00 from a signage contractor ("Entity 1").

    INOUYE provided favorable official action on behalf of Entity 1 as

    requested and as opportunities arose, including expediting approval of

    projects submitted for approval to DPP by Entity 1 ahead of projects

    previously submitted by others.

          c.     From in or about April 2012 to in or about January 2016,

    INOUYE solicited and accepted gifts, payments, and other things of value

    totaling at least $9,685.00 from a building contractor ("Entity 2").

    INOUYE provided favorable official action on behalf of Entity 2 as

    requested and as opportunities arose, including expediting approval of

    projects submitted for approval to DPP by Entity 2 ahead of projects

   previously submitted by others.

          d.     From in or about February 2012 to in or about December 2012,

   INOUYE solicited and accepted gifts, payments, and other things of value

   totaling at least $1,825.00 from a signage contractor ("Entity 3"). INOUYE


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       provided favorable official action on behalf of Entity 3 as requested and as

       opportunities arose, including expediting approval of projects submitted for

       approval to DPP by Entity 3 ahead of projects previously submitted by

       others.

              e.    INOUYE took steps to hide, conceal, and cover up his activity

       and the nature and scope of his dealings with persons who paid him bribes,

       including by using a sole proprietorship named SKI and Associates, a

      personal cell phone, and in-person meetings at places other than DPP to

       carry out the scheme, and by his failure to inform DPP of the bribes received

      by him in exchange for expediting approval of projects submitted by persons

      who paid him bribes.

      The Wire Communications

      4.      On or about the dates stated below, in the District of Hawaii and

elsewhere, and for the purpose of executing the aforesaid scheme and artifice to

defraud, and attempting to do so, INOUYE did knowingly transmit, and cause to

be transmitted, certain writings, signs, signals, and sounds in interstate commerce,

with each such wire communication constituting a separate count of this

Indictment:




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  COUNT       ONORABOUT           DESCRIPTION OF WIRE CO:l\1MIJNICATION

      1          9/12/2016       Wire communication by Defendant's bank for the
                                 clearing and payment of a check from Architect 1
                                 to Defendant for $12,583.08 deposited into
                                 Defendant's account
      2          1/27/2017       Wire communication by Defendant's bank for the
                                 clearing and payment of a check from Architect 1
                                 to Defendant for $7,500.00 deposited into
                                 Defendant's account
     3           9/1/2017        Wire communication by Defendant's bank for the
                                 clearing and payment of a check from Architect 1
                                 to Defendant for $7,500.00 deposited into
                                 Defendant's account
     4           5/6/2016        Wrre communication by Defendant's bank for the
                                 clearing and payment of a check from Entity 1 to
                                 Defendant for $100.00 deposited into Defendant's
                                 account
     5           9/12/2016       Wire communication by Defendant's bank for the
                                 clearing and payment of a check from Entity 1 to
                                 Defendant for $150.00 deposited into Defendant's
                                 account
     6           8/22/2017       Wire communication by Defendant's bank for the
                                 clearing and payment of a check from Entity 1 to
                                 Defendant for $150.00 deposited into Defendant's
                                 account

      All in violation of Title 18, United States Code, Sections 1343 and 1346.

                                      Count 7
                                  False Statement
                                  (18U.S.C. § 1001)

      5.     On or about July 11, 2019, within the District of Hawaii, WAYNE

INOUYE, the defendant, did willfully and knowingly make a materially false,

fictitious, and fraudulent statement and representation in a matter within the

jurisdiction of the executive branch of the Government of the United States, by
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stating to a Special Agent of the Federal Bureau of Investigation and an Assistant

United States Attorney of the District ofHawaii that Architect 1 loaned INOUYE

approximately $100,000.00 while INOUYE was employed at the Department of

Planning and Permitting of the City and County of Honolulu ("DPP"). The

statement and representation were false because, as INOUYE then and there knew,

the money provided by Architect 1 to INOUYE while employed at DPP

constituted bribes in exchange for favorable official action in connection with the

scheme and artifice charged in Counts 1 - 3.

       All in violation of Title 18, United States Code, Section 1001.

                                  Forfeiture Notice

       6.    The allegations set forth in paragraphs 1 - 6 of this Indictment are

hereby realleged and incorporated by reference for the purpose of noticing

forfeiture pursuant to Title 18, United States Code, Section 981(a)(l)(C) and Title

28, United States Code, Section 2461(c).

      7.     The United States hereby gives notice to Defendant that, upon

conviction of the offenses charged in Counts 1 - 6 of this Indictment, the

government will seek forfeiture, in accordance with Title 18, United States Code,

Section 981(a)(l)(C) and Title 28, United States Code, Section 2461(c), of any and

all property, real or personal, constituting, or derived from, proceeds traceable to




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 the violation of Title 18, United States Code, Section 1343, alleged in this

 Indictment.

        8.      Ifby any act or omission of Defendant, any of the property subject to

 forfeiture described in paragraph 7 herein:

             a. cannot be located upon the exercise of due diligence;

             b. has been transferred or sold to, or deposited with, a third party;

             c. has been placed beyond the jurisdiction of the court;

             d. has been substantially diminished in value; or

             e. has been commingled with other property which cannot be subdivided

                without difficulty,

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the United States of America will be entitled to forfeiture of substitute property up

to the value of the property described above in paragraph 6, pursuant to Title 21,

United States Code, Section 853(p ), as incorporated by Title 28, United States

Code, Section 2461 (c).

      DATED: March 17, 2021, Honolulu, Hawaii.

                                              A TRUE BILL

                                              I sf Foreperson

                                              FOREPERSON, GRAND JURY



~
Acting United States Attorney
District of Hawaii



CRAIG S. NOLAN
MICHAEL NAMMAR
Assistant U.S. Attorneys




United States v. Wayne Inouye
Indictment
Cr.No. CR 21-00034 DKW

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